        Case 3:18-cv-01216-RDM Document 66 Filed 12/15/21 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Harold Allen,                            Docket 3:18-cv-01216-RDM
     Plaintiff
                                         (JUDGE ROBERT D. MARIANI)
V.


First National Bank of Omaha,
      Defendant                          FILED ELECTRONICALLY

                                    ORDER

       The parties having filed a Stipulation of Voluntary Dismissal , IT IS

ORDERED that this action is hereby dismissed without costs and with

prejudice.

       The Clerk of Court is directed to close th


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